Case 18-15691-CMG      Doc 43    Filed 05/08/18 Entered 05/08/18 21:30:37       Desc Main
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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Mark J. Politan, Esq.
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 -and

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 Attorneys for Diana Campuzano, Avi Elishis, and
 Gregg Salzman

                                                   Case No.:    18-15691 (CMG)
                                                   Chapter:     11
                                                   Judge:       Christine M. Gravelle

 In Re:
                                                   Hearing Date and Time:
 AMERICAN CENTER FOR CIVIL JUSTICE,                May 29, 2018 at 10:00 a.m.
 INC.
                      Debtor-in Possession.


  NOTICE OF MOTION OF DIANA CAMPUZANO, AVI ELISHIS, AND GREGG
 SALZMAN FOR APPOINTMENT OF A CHAPTER 11 TRUSTEE PURSUANT TO
             11 U.S.C. § 1104(a) AND FED R. BANKR. P. 2007.1


 TO:      ALL PARTIES IN INTEREST
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        PLEASE TAKE NOTICE that on the 29th day of May, 2018 at 10:00 a.m. (Eastern

Time), or as soon thereafter as counsel may be heard, the undersigned, attorneys to Diana

Campuzano, Avi Elishis and Gregg Salzman, will move before the Honorable Christine M.

Gravelle, United States Bankruptcy Judge, at the United States Bankruptcy Court, 402 East State

Street, Trenton, New Jersey 08608, Courtroom 3, for entry of an Order appointing a chapter 11

trustee pursuant to 11 U.S.C. § 1104(a) and Fed R. Bankr. P. 2007.1 (the “Motion”).

        PLEASE TAKE FURTHER NOTICE that the undersigned shall rely on the

Application in Support of Motion (the “Application”) and the Certification of Robert J. Tolchin,

Esq. (the “Tolchin Cert.”), which sets forth the relevant factual and legal basis upon which the

relief requested should be granted.

        PLEASE TAKE FURTHER NOTICE that objections, if any, to the relief requested in

the Motion shall: (i) be in writing, (ii) state with particularity the basis of the objection; and (iii)

be filed with the Clerk of the United States Bankruptcy Court in accordance D.N.J. LBR 9013-

2, so as to be received no later than seven (7) days before the hearing date set forth above.

        PLEASE TAKE FURTHER NOTICE that a proposed order incorporating the relief

sought is submitted herewith.

        PLEASE TAKE FURTHER NOTICE that unless objections are timely presented, the

Motion shall be deemed uncontested in accordance with D.N.J. LBR 9013-3 and the requested

relief may be granted without a hearing.

         PLEASE TAKE FURTHER NOTICE that the undersigned requests oral argument

 on the return date of the Motion if objections are timely presented.




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Dated: May 8, 2018                            Respectfully submitted,

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                                              -and-


                                              THE BERKMAN LAW OFFICE, LLC

                                              By:     /s/ Robert J. Tolchin
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                                              and Gregg Salzman




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